{¶ 1} I respectfully disagree with the majority's conclusion that the trial court made the requisite findings on the record when it sentenced Appellant to the maximum and consecutive terms of imprisonment. Such findings must be made on the record at the sentencinghearing. See State v. Riggs (Oct. 11, 2000), 9th Dist. No. 19846, at 7 (Whitmore, J., concurring in part and dissenting in part). Moreover, inWoods v. Telb (2000), 89 Ohio St.3d 504, paragraph two of the syllabus, the Ohio Supreme Court mandated that a trial court "inform the defendantat sentencing or at the time of a plea hearing that post-release control is part of the defendant's sentence," thus reinforcing my dissent inRiggs that the findings and reasons, when required, be placed on the record at the sentencing hearing. (Emphasis added.)  See, also, State v.Williams (2000), 136 Ohio App.3d 570, 572 (interpreting Edmonson as requiring the trial court to make the findings and give its reasons for imposing a maximum term of imprisonment on the record at the sentencing hearing and not merely in the judgment entry); State v. Martin (1999),136 Ohio App.3d 355, 362-363.
{¶ 2} Accordingly, I would sustain Appellant's first and second assignments of error and remand this case to the trial court with an order to set forth all of the necessary findings at the sentencing hearing when imposing the maximum and consecutive terms of imprisonment. I concur with the majority's disposition of the remaining assignments of error.